Case 1:15-0v-OOl79-WES-LDA Document 52 Filed 02/23/18 Page 1 of 2 Page|D #: 1056

UNITED STATES DISTRICT CoURT
FoR THE DISTRICT oF RHor)E ISLAND

MAYRA F. PENA,
PLAINTIFF

V. : C.A. NO. 15-CV-00179~S-LDA

HoNEY\X/ELL INTERNATIONAL INC.,
DEFENDANT.

NOTICE oF APPEAL PURSUANT To FED. R. APP. P. 4
Plaintiff Mayra F. Pena, by and through her attorney, pursuant to R.ule 4 of the Federal Rules
of Appellate Procedure, hereby appeals to the United States Court of Appeals for the First Circuit
the following orders of this Honorable Court:

(1) Magistrate judge Lincoln D. Alrnond’s September 22, 2017 Report &
Recomrnendation (Doc. No. 42) recommending that the Court grant Defendant’$
Motion for Surnrnaryjudgrnent (Doc. No. 50);

(2) Grant of Defendant’§ Motion for Surnmary judgment (Doc. No. 50) entered on
january 29, 2018, adopting Magistrate judge Linco]n D. Alrnond’$ Septernber 22,
2017 Report & Recornmendation (Doc. No. 42); and

(3) Clerk’S judgment for Defendant and against Plainriff entered on january 29, 2018
(Doc. No. 51).

MAYRA F. PENA
By Her Attorney,

Ls/Mark P. Gag]iardi
Mark P. Gaghardi (#6819)

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Dated: February 23, 2018

Page 1 of2

Case 1:15-cv-00179-WES-LDA Document 52 Filed 02/23/18 Page 2 of 2 Page|D #: 1057

CERTIFICATION

l hereby certify that on this _.'Z__’_)rd day of February, 201§, l filed electronically this document
With the Clerk of the U.S. District Court for the District of Rhode leland and, therefore, all counsel-
of~record has received notice electronically

f s g Mark P. Gagliardi

Page 2 0f2

